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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
NANO FOUNDATION, LTD., a New York non-                                         CASE NUMBER:

profit corporation; and COLIN LeMAHIEU, et aI.,
                                                              Plaintiff(s),
                                     v.
DAVID C. SILVER, an individual.
                                                                                              CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                            Defendant(s)                             (Local Rule 7.1-1)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiffs
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                PARTY                                                                     CONNECTION / INTEREST
NANO FOUNDATION, LTD.                                                         Plaintiff

NanoLabs, Inc.                                                                Subsidiary of Nano Foundation, Ltd.

COLIN LeMAHIEU                                                                Plaintiff

DAVID C. SILVER                                                               Defendant




         May 16, 2019
         Date                                              Sig~ature



                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs


CV-30 (05113)                                           NOTICE OF INTERESTED PARTIES
